
In re City of New Orleans; — Defendant; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Civil District Court Div. J, No. 2011-02376; to the Court of Appeal, Fourth Circuit, No. 2014-C-0081.
*269Granted. The City produced sufficient evidence to establish it had no prior knowledge of the missing stop sign. See La. R.S. 9:2800(C). Plaintiffs failed to offer any contradictory evidence. Accordingly, the judgment of the district court is reversed. The City’s motion for summary judgment is granted, dismissing plaintiffs’ claims against the City.
JOHNSON, C.J., and HUGHES, J., would deny.
